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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


  BABY DOE, et al.,                                    )
                                                       )
                 Plaintiffs,                           )
                                                       )
  v.                                                   )       Case No. 3:22-cv-49-NKM
                                                       )
  JOSHUA MAST, et al.,                                 )
                                                       )
                 Defendants,                           )
                                                       )
  and                                                  )
                                                       )
  UNITED STATES SECRETARY OF                           )
  STATE ANTONY BLINKEN, et al.,                        )
                                                       )
                 Nominal Defendants.                   )
                                                       )

            DEFENDANT RICHARD MAST’S MOTION TO FILE UNDER SEAL
                 UNREDACTED EXHIBITS TO HIS MEMORANDUM
         IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

         Defendant Richard Mast hereby moves this honorable Court to file unredacted copies of

  the Exhibits referenced in or attached in redacted format to his Memorandum In Opposition to

  Plaintiffs’ Motion For Protective Order, under seal, pursuant to Local Rule 9 and the Protective

  Order (Dkt. 26).

         1. Richard Mast’s Memorandum references Exhibits, some of which have been filed in the

  preexisting Virginia state court proceeding in which Plaintiffs John and Jane Doe seek to unwind

  Defendants Joshua and Stephanie Masts’ adoption of the Masts’ daughter. That proceeding is

  presently under seal. The Virginia state court has allowed the Defendants Joshua and Stephanie

  Mast and Defendant Richard Mast to discuss that case’s filings in this case, provided that they seek

  to submit documents from that case under seal. Other Exhibits referenced in Defendant Richard
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  Mast’s Memorandum are redacted so as to comply with this Court’s previous Protective Order

  (Dkt.26) regarding the identities of the Masts’ daughter and the identities of Plaintiffs John Doe

  and Jane Doe.

         2. The Exhibits listed in the Opposition to the Motion for Entry of A Protective Order

  (Dkt.171), unredacted copies of which Richard Mast seeks to file under seal are as follows:

         Exhibit 1 [DASD Determination of 11 Feb 2020 FOIA Release];

         Exhibit 2 (filed under seal);

         Exhibit 3 (filed under seal);

         Exhibit 6 [4 Nov 2019 Specific Risk of Harm Letter, Task Force MED-A released to

         ICRC];

         Exhibit 8 [5 Jan 2022 Pender County Sheriff’s Office Force Protection Emails with

         Declassified Mission Summary, released pursuant to North Carolina Public Records Law

         N.C.G.S. §132-1];

         Exhibit 9 [MARSOC Preliminary Inquiry into Major Mast’s capacity];

         Exhibit 10 (filed under seal);

         Exhibit 14 (filed under seal);

         Exhibit 15 (filed under seal);

         Exhibit 16 (filed under seal);

         Exhibits 17, 18 (Major Mast’s initial Touhy approval and subsequent Touhy rescissions);

         Exhibit 19 (filed under seal);

         Exhibits 20, 21, 22, 23, and 24 (Major Mast’s initial Touhy approval and subsequent Touhy

         rescissions).
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         3. The Supreme Court of Virginia recently called into question whether the Circuit Court

  records should remain sealed because of the Supreme Court’s recent decision in Daily Press, LLC

  v. Commonwealth, ___ Va. ___, ___, 878 S.E.2d 390, 403–07 (2022). But it held that the Circuit

  Court record would remain provisionally sealed until the Circuit Court has provided notice of the

  proceedings to the public, offered an opportunity for intervenors to seek access to the record, and

  entered an order based on specific findings as to whether some or all of the record should remain

  sealed. The entry of a written order is pending in the Circuit Court.

         4. Richard Mast also anticipates moving this Court for an order modifying its protective

  order, including its authorization for Plaintiffs John Doe and Jane Doe to proceed under

  pseudonyms.

         4. While the Circuit Court implements the Supreme Court’s order, and pending further

  action from this Court on the protective order, Defendant Richard Mast seeks leave to file the

  aforementioned Exhibits under seal and unredacted so as not to moot any of those issues

  unilaterally. Richard Mast acknowledges that it may soon be appropriate to revisit the matter in

  light of subsequent developments.

         For the above reasons, Richard Mast respectfully requests the Court to grant this Motion

  to file the referenced unredacted Exhibits from the Virginia Circuit Court case or other Exhibits

  redacted so as to be compliant with this Court’s pseudonym and protective orders.

  Dated: February 28, 2023                              Respectfully submitted,

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                                                       Mast


                                  CERTIFICATE OF SERVICE

         The undersigned counsel certifies that on February 28, 2023, a true and accurate

  copy of the foregoing was submitted to the Court’s ECF electronic mail account, copying

  counsel of record for Defendants, in order to be filed under seal in the above -captioned matter.

                                               /s/ Richard L. Mast
                                               Richard L. Mast, pro per
